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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 1:21-cr-83-TNM
                                              :
BRANDON FELLOWS,                              :
                                              :
                       Defendant.             :


        MOTION IN LIMINE REGARDING EVIDENCE ABOUT THE SPECIFIC
        LOCATIONS OF U.S. CAPITOL POLICE SURVEILLANCE CAMERAS


       The United States of America moves in limine, pursuant to Fed. R. Evid. 401, 403, and

611(b), to restrict the presentation of evidence regarding the specific position of U.S. Capitol

Police surveillance cameras.

                                        INTRODUCTION

       To meet its burden of proof at trial, the government will present video evidence from a

variety of sources, including Capitol Police surveillance footage. As detailed in the Declaration of

Thomas A. DiBiase (Exhibit 1), the Capitol Police maintains an extensive closed-circuit video

system which includes cameras inside the Capitol Building, inside other buildings within the

Capitol complex, and outside on Capitol grounds. These cameras captured thousands of hours of

footage from the breach of the Capitol and have been instrumental in documenting the events of

January 6, 2021.

       However, U.S. Capitol Police’s surveillance system also serves an important, and ongoing,

function in protecting Congress and, by extension, national security. In particular, the footage from

the system is subject to limitations and controls on access and dissemination. (See Exhibit 1.) And,

to find relevant footage from the Capitol Police’s surveillance system and adequately prepare for
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trial, one would need to use maps which display the locations of the interior and exterior cameras.

The government has therefore provided the defense with maps that display these locations.

However, due to the sensitive nature of these items, the government seeks an order limiting the

defense from probing, during cross-examination, the exact locations of Capitol Police surveillance

cameras or from using the maps, which show each camera’s physical location, as an exhibit at

trial. 1

                                              ARGUMENT

           I.     This Court Has the Discretion to Limit the Presentation of Evidence and
                  Cross-Examination of Witnesses at Trial.

           It is well-established that a district court has the discretion to limit a criminal defendant’s

presentation of evidence and cross-examination of witnesses. See Alford v. United States, 282 U.S.

687 (1931) (“The extent of cross-examination [of a witness] with respect to an appropriate subject

of inquiry is within the sound discretion of the trial court.”); United States v. Whitmore, 359 F.3d

609, 615-16 (D.C. Cir. 2004) (“The district court . . . has considerable discretion to place

reasonable limits on a criminal defendant’s presentation of evidence and cross-examination of

government witnesses.”). A court has the discretion to prohibit cross-examination that goes beyond

matters testified to on direct examination. Fed. R. Evid. 611(b). This is particularly so when the

information at issue is of a sensitive nature. See e.g., United States v. Balistreri, 779 F.2d 1191,

1216-17 (7th Cir. 1985) (upholding district court’s decision to prohibit cross-examination of agent

about sensitive information about which that agent did not testify on direct examination and which

did not pertain to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d



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  These maps have been disclosed to the defendant but, pursuant to the terms of the protective
order, have been designated Highly Sensitive. Moreover, these maps have been designated as
“Security Information” under 2 U.S.C. §1979, which forbids their use without the approval of the
Capitol Police Board.

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788 (7th Cir. 2016). Other permissible reasons for limiting cross-examination include preventing

harassment, prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant

questioning. Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       While limiting a defendant’s opportunity for cross-examination may implicate the

constitutional right to confront witnesses, the Confrontation Clause only guarantees “an

opportunity for effective cross-examination, not cross-examination that is effective in whatever

way, and to whatever extent, the defense might wish.” Delaware v. Fensterer, 474 U.S. 15, 20

(1985). Even evidence that may be relevant to an affirmative defense should be excluded until the

defendant sufficiently establishes that defense through affirmative evidence presented during his

own case-in-chief. See United States v. Lin, 101 F.3d 760, 768 (D.C. Cir. 1996) (acknowledging

trial court has discretion to limit cross-examination on prejudicial matters without reasonable

grounding in fact); United States v. Sampol, 636 F.2d 621, 663-64 (D.C. Cir. 1980) (holding that

trial court properly limited cross-examination of alleged CIA murder scheme until defense put

forth sufficient evidence of the affirmative defense in its case-in-chief); United States v. Stamp,

458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court properly excluded cross examination of

government’s witness with response to matter only related to an affirmative defense and not

elicited through direct exam). Preventing the defendant from exploring the topics identified above

will not infringe his Confrontation Clause right because the exact positions of cameras, and the

camera map, implicate national security concerns, are of marginal probative value, and any

probative value can be addressed without compromising the Capitol Police’s protective function.

       II.     The Defendant Should Be Precluded from Questioning Witnesses about the
               Exact Positions of Capitol Police Cameras, Introducing Such Evidence
               Himself, or Admitting Capitol Police Maps of Camera Coverage.

       The government intends to offer several videos containing footage from the U.S. Capitol

Police. For example, to prove the counts in the Superseding Indictment, the government must


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show, among other things, that the defendant entered the U.S. Capitol building and intended to

obstruct an official proceeding. To prove these charges, the government intends to introduce

footage from Capitol Police cameras showing the defendant occupying restricted areas. A Capitol

Police witness employed on January 6, 2021, is expected to explain how the Capitol Police

monitored and responded to the violent mob.

        Evidence about the exact locations of cameras, and the maps used to locate the cameras,

should be excluded in light of the ongoing security needs of the Capitol. The defense can probe

what Capitol Police’s cameras show, and what they don’t, by asking about the general location of

each camera. For example, a camera positioned inside the Lower West Terrace tunnel can be

described as “inside the tunnel, facing out” without describing its exact height and depth within

the tunnel and without showing a picture of the camera. Absent some concrete and specific defense

need to probe the camera’s location, there is nothing to be gained from such questioning. A general

description, and the footage from the camera itself, will make clear what the camera recorded and

what it did not. Additionally, presenting the map of all Capitol Police cameras would risk

compromising these security concerns for no additional probative value: the map contains

numerous cameras installed in parts of the Capitol that the defendant did not visit.

        Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger to national security. See United States v. Mohammed, 410

F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding that information having broader national security

concerns can be excluded under Rule 403 because its tendency to confuse the issues, mislead the

jury, create side issues or a mini-trial can result in undue prejudice that substantially outweighs

any probative value). If the map of the Capitol cameras is introduced in this trial, or in any trial, it

becomes available to the general public. Immediately, anyone could learn about the Capitol

Police’s camera coverage as of January 6, 2021, and—importantly—could learn about the parts of


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the Capitol where cameras were not installed. Broader presentation of evidence about camera

locations could compromise national security without adding any appreciable benefit to the

determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence.

          If the defense believes that presentation of the exact locations of the Capitol Police cameras

is necessary, or that presentation of the Capitol Police map is necessary, the government requests

that the Court conduct a hearing in camera to resolve the issue. As noted, in this case, disclosure

of certain information could prove detrimental to the Capitol Police’s ability to protect members

of Congress, and could affect our national security. Courts have found such considerations justify

ex parte, in camera proceedings. See United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming

district court’s order for in camera inspection of subpoenaed presidential materials); United States

v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera . . . proceedings to

evaluate bona fide Government claims regarding national security information are proper.”); In re

Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings “serve to resolve,

without disclosure, the conflict between the threatened deprivation of a party’s constitutional rights

and the Government’s claim of privilege based on the needs of public security.”); United States v.

Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same). At any such hearing, the defendant

should be required to make “a proffer of great specificity” regarding the need for the evidence and

the scope of his questions. Cf. United States v. Willie, 941 F.2d 1384, 1393 (10th Cir. 1991)

(requiring such proffer where evidence of defendant’s belief might have permissible and

impermissible purposes, and careless admission would raise issues under Fed. R. Evid. 403).




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                                        CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting the presentation of evidence about the precise locations of Capitol Police

surveillance cameras, including through the use of Capitol Police maps. If this court determines

an evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera.



                                             Respectfully submitted,

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